Dear Representative Hudson:
I am in receipt of your request for an Attorney General's opinion concerning the interpretation of LSA-R.S. 42:5.1 which was enacted pursuant to Act 895 of the 1997 Regular Session. You state that it is believed that the legislative history of Act 895 will reveal that proponents of the bill were seeking legislation to specifically require a school board to allow public comment at any meeting of the school board prior to taking any vote.
You have indicated that prior to the passage of Act 895, several school boards in this state allowed absolutely no public comments prior to taking a vote. However, there were numerous school boards in the state that did allow public comment. The St. Landry Parish School Board was one of those schools. You are of the opinion that the St. Landry Parish School Board is now relying upon LSA-R.S. 42:5.1 to limit public comment at school board meetings.
By telephone, you amended your original opinion request. You indicated that the Board requires anyone that desires to speak to fill out a sign-up card before the meeting to speak on a specific agenda item. Specifically, you ask whether the Board can limit the individuals that can speak at a meeting to individuals that completed a sign-up card.
LSA-R.S. 42:5.1 provides the following:
                  School board meetings; public comment               Notwithstanding any other law to the contrary, each school board subject to the provisions of this Chapter shall allow public comment at any meeting of the school board prior to taking any vote. The comment period shall be for each agenda item and shall precede each agenda item. A comment period for all comments at the beginning of a meeting shall not suffice as a comment period.
The St. Landry Parish School Board's policy states the following in pertinent part on public participation:
          A public comment period shall be held before any vote is taken on an agenda item. The comment period shall precede each agenda item. Concerns and public comments shall be limited to five minutes unless the time is waived by the majority of the Board members present. However, a person is not entitled to take up business before the Board unless the item in which he is introduced has been placed on the agenda of that meeting. Anyone wishing to speak on a specific item must present the request ahead of time prior to convening of the meeting. Sign-up cards must be filled out before the meeting by the person wishing to speak on a specific agenda item. In addition, the President of the Board may recognize persons at the Board meetings for the purpose of introducing such persons.
A city or parish school board is authorized to make such rules and regulations for its own government not inconsistent with law or with the regulation of the State Board of Elementary and Secondary Education, as it may deem proper. (See LSA-R.S. 17:81C). LSA-R.S. 42:5.1 clearly states that public comment shall be allowed at any school board meeting prior to taking any vote. The statute also states that the comment period shall be for each agenda item and shall precede each agenda item. However, the statute does not preclude a school board from placing requirements on individuals that desire to speak such as filling out a sign-up card before a school board meeting.
I hope this opinion sufficiently addresses your concerns. If I can be of further assistance, please let me know.
Very truly yours,
                                       RICHARD P. IEYOUB ATTORNEY GENERAL
                                   BY: __________________________ BETH CONRAD LANGSTON ASSISTANT ATTORNEY GENERAL
RPI/BCL/sc
98.17.op
OPINION NUMBER 01-394
November 8, 2001
90-B-4  Public Meetings R.S. 42:5
Public bodies conducting a meeting shall provide by adoption of reasonable rules for opportunity for public comment at the meeting.
Mr. Bobby Gill, Mayor Town of Kentwood 308 Avenue G Kentwood, LA 70444